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                   EXHIBIT A
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                            UNITED
                            UNITED STATES
                                   STATES DISTRICT
                                           DISTRICT COURT
                                                     COURT
                             MIDDLE
                             MIDDLE DISTRICT
                                     DISTRICT OF
                                               OF FLORIDA
                                                  FLORIDA
                                  ORLANDO
                                  ORLANDO DIVISION
                                            DIVISION

    ANTHONY LAWSON,
    ANTHONY LAWSON, individually
                    individually and
                                 and on
                                     on
    behalf of all
    behalf of all others
                  others similarly
                         similarly situated,
                                   situated,

               Plaintiff,
               Plaintiff,                           CLASS ACTION
                                                    CLASS ACTION

    vs.
    vs.
                                                    Case
                                                    Case No.:
                                                         No.:
    VISIONWORKS OF
    VISIONWORKS    AMERICA, INC.,
                OF AMERICA, INC.,

               Defendant.
               Defendant.                           JURY
                                                    JURY TRIAL
                                                         TRIAL DEMANDED
                                                               DEMANDED

    ___________________________ //

                              CLASS ACTION COMPLAINT
                              CLASS ACTION COMPLAINT

          1.
          1.      Plaintiff, Anthony Lawson
                  Plaintiff, Anthony Lawson (“Plaintiff”), brings this
                                            (“Plaintiff”), brings this action
                                                                       action against
                                                                              against

   Defendant, Visionworks of
   Defendant, Visionworks    America, Inc.
                          of America, Inc. (“Defendant”),
                                           (“Defendant”), to
                                                          to secure
                                                             secure redress
                                                                    redress for
                                                                            for

   violations of
   violations    the Telephone
              of the Telephone Consumer
                               Consumer Protection Act (“TCPA”),
                                        Protection Act (“TCPA”), 47
                                                                 47 U.S.C.
                                                                    U.S.C. §§ 227.
                                                                              227.

                               NATURE
                               NATURE OF
                                      OF THE ACTION
                                         THE ACTION

          2.
          2.      This is aa putative
                  This is    putative class
                                      class action
                                            action pursuant
                                                   pursuant to the Telephone
                                                            to the Telephone Consumer
                                                                             Consumer

   Protection Act, 47
   Protection Act, 47 U.S.C.
                      U.S.C. §§ 227
                                227 et
                                    et seq.,
                                       seq., (the
                                             (the “TCPA”).
                                                  “TCPA”).

          3.
          3.      Defendant
                  Defendant is
                            is a
                               a nationwide
                                 nationwide optical
                                            optical retail
                                                    retail store.
                                                           store. To
                                                                  To promote
                                                                     promote its
                                                                             its services,
                                                                                 services,

   Defendant
   Defendant engages
             engages in
                     in unsolicited
                        unsolicited marketing,
                                    marketing, harming
                                               harming thousands
                                                       thousands of
                                                                 of consumers
                                                                    consumers in
                                                                              in

   the
   the process.
       process.

          4.
          4.      Through
                  Through this
                          this action,
                               action, Plaintiff
                                       Plaintiff seeks
                                                 seeks injunctive
                                                       injunctive relief
                                                                  relief to
                                                                         to halt
                                                                            halt

   Defendant’s
   Defendant’s illegal
               illegal conduct,
                       conduct, which has resulted
                                which has resulted in
                                                   in the
                                                      the invasion
                                                          invasion of
                                                                   of privacy,
                                                                      privacy,

   harassment, aggravation, and
   harassment, aggravation, and disruption
                                disruption of
                                           of the
                                              the daily
                                                  daily life of thousands
                                                        life of thousands of
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   individuals. Plaintiff also seeks statutory damages on behalf of himself and

   members of the class, and any other available legal or equitable remedies.

                            JURISDICTION AND VENUE

        5.         Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges

   violations of a federal statute. Jurisdiction is also proper under 28 U.S.C. §

   1332(d)(2) because Plaintiff alleges a national class, which will result in at least one

   class member belonging to a different state than that of Defendant. Plaintiff seeks

   up to $1,500.00 (one thousand five hundred dollars) in damages for each call-in

   violation of the TCPA, which, when aggregated among a proposed class numbering

   in the tens of thousands, or more, exceeds the $5,000,000.00 (five-million dollars)

   threshold for federal court jurisdiction under the Class Action Fairness Act

   (“CAFA”). Therefore, both the elements of federal question jurisdiction and CAFA

   jurisdiction are present.

        6.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and

   (c) because Defendant is deemed to reside in any judicial district in which it is

   subject to the court’s personal jurisdiction, because Plaintiff resides within this

   judicial district, and because Defendant provides and markets its services within

   this district thereby establishing sufficient contacts to subject it to personal

   jurisdiction.

                                         PARTIES

         7.        Plaintiff is a natural person and is a resident of Seminole County,

   Florida.

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         8.     Defendant is a Texas corporation whose principal office is located at

   175 E Houston Street, San Antonio, Texas 78205. Defendant directs, markets, and

   provides its business activities throughout the State of Florida.

                                       THE TCPA

         9.     The TCPA provides a cause of action to anyone who receives a call,

   including a text message, from someone who fails to comply with the

   implementing regulations found in 47 C.F.R. 64.1200(c)-(d). Among those

   regulations are the requirement to maintain internal do-not-call lists for

   individuals who request that the caller stop placing calls to their telephone

   number. Another requirement is that callers honor those “opt out” requests.

         10.    Further, the TCPA forbids companies from placing calls to consumers

   who have placed their phone numbers on the national Do-Not-Call Registry.

         11.    The TCPA regulations promulgated by the FCC define “telemarketing”

   as “the initiation of a telephone call or message for the purpose of encouraging the

   purchase or rental of, or investment in, property, goods, or services.” 47 C.F.R. §

   64.1200(f)(12).   In   determining     whether     a   communication      constitutes

   telemarketing, a court must evaluate the ultimate purpose of the communication.

   See Golan v. Veritas Entm’t, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

         12.    “‘Telemarketing’ occurs when the context of a call indicates that it was

   initiated and transmitted to a person for the purpose of promoting property, goods,

   or services.” Golan, 788 F.3d at 820 (citing 47 C.F.R. § 64.1200(a)(2)(iii); 47 C.F.R.

   § 64.1200(f)(12); In re Rules and Regulations Implementing the Telephone

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   Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003 WL 21517853,

   at *49).

          13.    If calls contain both an informational purpose and a marketing

   purpose, they are considered “dual purpose” calls and liability under the TCPA

   attaches.

          14.    The FCC has explained that calls motivated in part by the intent to sell

   property, goods, or services are considered telemarketing under the TCPA. See In

   re Rules and Regulations Implementing the Telephone Consumer Protection Act

   of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003). This is true whether call recipients

   are encouraged to purchase, rent, or invest in property, goods, or services during

   the call or in the future. Id.

          15.    In other words, offers “that are part of an overall marketing campaign

   to sell property, goods, or services constitute” telemarketing under the TCPA. See

   In re Rules and Regulations Implementing the Telephone Consumer Protection

   Act of 1991, 18 FCC Rcd. 14014, ¶ 136 (2003).

          16.    Further, the FCC has issued rulings and clarified that consumers are

   entitled to the same protections for text messages as they are for calls to wireless

   numbers. See Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir.

   2009) (The FCC has determined that a text message falls within the meaning of “to

   make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc., 2014 WL

   6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that



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   it
   it obtained
      obtained Plaintiff's
               Plaintiff's prior
                           prior express
                                 express consent before sending
                                         consent before         him the
                                                        sending him the text
                                                                        text message).
                                                                             message).

   (emphasis
   (emphasis added).
             added).

         17.
         17.    As recently
                As          held by
                   recently held by the
                                    the United
                                        United States
                                               States Court
                                                      Court of Appeals for
                                                            of Appeals for the
                                                                           the Ninth
                                                                               Ninth

   Circuit: “Unsolicited
   Circuit: “Unsolicited telemarketing phone calls
                         telemarketing phone calls or
                                                   or text messages, by
                                                      text messages,    their nature,
                                                                     by their nature,

   invade the
   invade the privacy
              privacy and
                      and disturb
                          disturb the
                                  the solitude
                                      solitude of
                                               of their
                                                  their recipients.
                                                        recipients. AA plaintiff
                                                                       plaintiff alleging
                                                                                 alleging

   aa violation under the
      violation under the TCPA
                          TCPA ‘need
                               ‘need not
                                     not allege
                                         allege any
                                                any additional
                                                    additional harm
                                                               harm beyond the one
                                                                    beyond the one

   Congress
   Congress has
            has identified.’”
                identified.” Van  Patten v.
                              Van Patten
                            999
                                         v. Vertical Fitness Grp.,
                                            Vertical Fitness Grp., No.
                                                                   No. 14-55980,
                                                                       14-55980, 2017
                                                                                 2017

   U.S. App.
   U.S.      LEXIS 1591,
        App. LEXIS 1591, at
                         at *12
                            *12 (9th
                                (9th Cir.
                                     Cir. May
                                          May 4,
                                              4, 2016)
                                                 2016) (quoting
                                                       (quoting Spokeo,
                                                                Spokeo, Inc. v.
                                                                        Inc. v.

   Robins, 136
   Robins, 136 S.
               S. Ct.
                  Ct. 1540,
                      1540, 1549
                            1549 (2016)
                                 (2016) (emphasis
                                        (emphasis original)).
                                                  original)).

                                         FACTS
                                         FACTS

         18.
         18.    In 2020,
                In 2020, Defendant
                         Defendant inundated
                                   inundated Plaintiff
                                             Plaintiff with
                                                       with multiple
                                                            multiple telemarketing
                                                                     telemarketing

   text messages to
   text messages to his cellular telephone
                    his cellular telephone number
                                           number ending
                                                  ending in
                                                         in 1613
                                                            1613 (the
                                                                 (the “1613
                                                                      “1613

   Number”),
   Number”), aa few
                few of which are
                    of which are included
                                 included in
                                          in the below screenshot:
                                             the below




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      atl) CC Network   & 2%         10:52 PM                                Baal)       CC Network &         11:20 PM            100% a)

                                                                                     <                        33512
                                     335-12


                                  Text   Message
                           Thu,    Jun   25,   1:14   PM                                                Thu, Oct 22,   11:11 AM

          Visionworks: ANTHONY, you                                                      Visionworks: ANTHONY, you
          are overdue for your eye                                                       are overdue for your eye
          exam. Please schedule your                                                     exam. Please schedule your
          appt @ bit.ly/323u0Pw or                                                       appt @ bit.ly/2NgiSH5 or call
          call (410) 788-9303. Mon-                                                      (410) 788-9303. Mon-Sat
          Sat 11:00a-6:00p Txt STOP                                                      11:00a-6:00p Txt STOP
          ToOptOut                                                                       ToOptOut

                                                           UO) =¥-\er-110)                                 Today   10:13   AM



                               Today      11:11 AM                                       Visionworks: ANTHONY, you
                                                                                         are overdue for your eye
          Visionworks: ANTHONY, you                                                      exam. Please schedule your
          are overdue for your eye                                                       appt @ bit.ly/2NgiSH65 or call
          exam. Please schedule your                                                     (410) 788-9303. Mon-Sat
          appt @ bit.ly/2NgiSH5 or call                                                  11:00a-6:00p Txt STOP
         (410) 788-9303. Mon-Sat                                                         ToOptOut
          11:00a-6:00p Txt STOP
          ToOptOut
                                                                                     Oo        ®                                    ®
        go                                                                               *@O8@ercd &
           19.
           19.          On multiple
                        On multiple occasions,
                                    occasions, Plaintiff
                                               Plaintiff replied
                                                         replied with the word
                                                                 with the      STOP in
                                                                          word STOP in an
                                                                                       an

   attempt to
   attempt to opt-out
              opt-out of
                      of receiving
                         receiving any
                                   any future
                                       future communications
                                              communications from
                                                             from Defendant.
                                                                  Defendant.

           20.
           20.          Nevertheless, Defendant
                        Nevertheless, Defendant simply
                                                simply ignored
                                                       ignored those
                                                               those requests.
                                                                     requests. For
                                                                               For example,
                                                                                   example,

   on
   on or
      or about
         about October
               October 22,
                       22, 2020
                           2020 and
                                and November
                                    November 27,
                                             27, 2020,
                                                 2020, Defendant
                                                       Defendant again
                                                                 again caused
                                                                       caused

   further telemarketing text
   further telemarketing text messages
                              messages to be sent
                                       to be      to his
                                             sent to his cellular
                                                         cellular phone.
                                                                  phone.

           21.
           21.          Upon
                        Upon information
                             information and belief, Defendant
                                         and belief, Defendant does
                                                               does not
                                                                    not have
                                                                        have a written
                                                                             a written

   policy
   policy for
          for maintaining
              maintaining an
                          an internal
                             internal do
                                      do not
                                         not call list pursuant
                                             call list pursuant to
                                                                to 47
                                                                   47 U.S.C.
                                                                      U.S.C. §§

   64.1200(d)(1).


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         22.
         22.    Upon
                Upon information
                     information and belief, Defendant
                                 and belief, Defendant does
                                                       does not
                                                            not inform
                                                                inform and
                                                                       and train
                                                                           train its
                                                                                 its

   personnel
   personnel engaged
             engaged in
                     in telemarking
                        telemarking in
                                    in the
                                       the existence
                                           existence and
                                                     and the
                                                         the use
                                                             use of
                                                                 of any
                                                                    any internal
                                                                        internal do
                                                                                 do

   not
   not call list pursuant
       call list pursuant to
                          to 47
                             47 U.S.C.
                                U.S.C. §§ 64.1200(d)(2).
                                          64.1200(d)(2).

         23.
         23.    Defendant’s text
                Defendant’s text messages
                                 messages were transmitted to
                                          were transmitted    Plaintiffs cellular
                                                           to Plaintiff’s cellular

   telephone, and within
   telephone, and        the time
                  within the      frame relevant
                             time frame relevant to
                                                 to this
                                                    this action.
                                                         action.

         24.
         24.    Defendant’s text
                Defendant’s      messages constitute
                            text messages constitute telemarketing
                                                     telemarketing because they
                                                                   because they

   encouraged the
   encouraged the future
                  future purchase
                         purchase or
                                  or investment
                                     investment in
                                                in property,
                                                   property, goods,
                                                             goods, or
                                                                    or services,
                                                                       services, i.e.,
                                                                                 i.e.,

   selling Plaintiff
   selling Plaintiff eye
                     eye examinations.
                         examinations. The
                                       The text
                                           text messages
                                                messages were
                                                         were an
                                                              an attempt
                                                                 attempt to solicit
                                                                         to solicit

   Plaintiff’s business and
   Plaintiffs business  and patronage.
                            patronage.

         25.
         25.    As can be
                Asan   be seen
                          seen in
                               in the
                                  the routine verbiage, this
                                      routine verbiage, this is
                                                             is not
                                                                not an
                                                                    an example
                                                                       example of
                                                                               of aa

   doctor’s
   doctor’s office
            office calling
                   calling its
                           its patients to remind
                               patients to remind them
                                                  them of
                                                       of an
                                                          an appointment.
                                                             appointment. Defendant
                                                                          Defendant

   simply wanted to
   simply wanted to sell
                    sell its
                         its services
                             services to
                                      to Plaintiff
                                         Plaintiff and, to do
                                                   and, to do so,
                                                              so, sent
                                                                  sent numerous
                                                                       numerous messages
                                                                                messages

   in
   in an
      an attempt to convince
         attempt to convince Plaintiff
                             Plaintiff to
                                       to purchase
                                          purchase those
                                                   those services.
                                                         services.

         26.
         26.    Certainly,
                Certainly, once
                           once Plaintiff
                                Plaintiff clearly
                                          clearly expressed—multiple
                                                  expressed—multiple times—that
                                                                     times—that he
                                                                                he

   did not
   did not wish to purchase
           wish to purchase Defendant’s
                            Defendant’s services,
                                        services, Defendant’s
                                                  Defendant’s refusal
                                                              refusal to
                                                                      to give
                                                                         give up
                                                                              up

   demonstrates the
   demonstrates the marketing
                    marketing purpose
                              purpose of
                                      of the
                                         the text
                                             text messages.
                                                  messages.

         27.
         27.    Theinformation  contained in
                The information contained in the text message
                                             the text message advertises
                                                              advertises Defendant’s
                                                                         Defendant’s

   eye examination
   eye examination services,
                   services, which Defendant sends
                             which Defendant sends to
                                                   to promote
                                                      promote its
                                                              its business.
                                                                  business.

         28.
         28.    Defendant is
                Defendant isin
                             in the
                                the business of selling
                                    business of selling eye
                                                        eye exams,
                                                            exams, contacts,
                                                                   contacts, sunglasses,
                                                                             sunglasses,

   eyedrop solutions,
   eyedrop solutions, and
                      and so
                          so forth.




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         29.
         29.    Plaintiff
                Plaintiff did
                          did not
                              not have
                                  have an
                                       an existing
                                          existing plan
                                                   plan or
                                                        or subscription
                                                           subscription or
                                                                        or appointment
                                                                           appointment

   with Defendant.
   with Defendant. Rather,
                   Rather, Defendant
                           Defendant was
                                     was attempting
                                         attempting to
                                                    to sell
                                                       sell a
                                                            a new
                                                              new service
                                                                  service for
                                                                          for which
                                                                              which

   Plaintiff
   Plaintiff would,
             would, of
                    of course, have to
                       course, have to pay.
                                       pay.

         30.
         30.    Plaintiff
                Plaintiff is
                          is the
                             the subscriber
                                 subscriber and
                                            and sole
                                                sole user
                                                     user of the 1613
                                                          of the 1613 Number,
                                                                      Number, and
                                                                              and is
                                                                                  is

   financially responsible
   financially responsible for
                           for phone
                               phone service
                                     service to
                                             to the 1613 Number.
                                                the 1613 Number. Plaintiff
                                                                 Plaintiff uses
                                                                           uses the
                                                                                the

   1613 Number
   1613 Number for
               for residential,
                   residential, not
                                not business, purposes. The
                                    business, purposes. The 1613
                                                            1613 Number
                                                                 Number is
                                                                        is

   Plaintiffs primary
   Plaintiff’s primary residential
                       residential number.
                                   number.

         31.
         31.    Plaintiff has
                Plaintiff has been registered with
                              been registered with the national do-not-call
                                                   the national do-not-call registry
                                                                            registry

   since
   since March
         March 7,
               7, 2018.
                  2018.

         32.
         32.    All of
                All of the
                       the text
                           text messages
                                messages at
                                         at issue were placed
                                            issue were placed more
                                                              more than
                                                                   than 30
                                                                        30 days
                                                                           days after
                                                                                after

   the number
   the        was registered
       number was registered on
                             on the
                                the national
                                    national Do-Not-Call
                                             Do-Not-Call Registry.
                                                         Registry.

         33.
         33.    Defendant’s
                Defendant’s unsolicited
                            unsolicited text
                                        text messages
                                             messages caused
                                                      caused Plaintiff harm in
                                                             Plaintiff harm in the
                                                                               the

   form
   form of
        of invasion
           invasion of
                    of privacy,
                       privacy, aggravation,
                                aggravation, and
                                             and intrusion
                                                 intrusion on
                                                           on seclusion.
                                                              seclusion.

         34.
         34.    Defendant’s
                Defendant’s unsolicited
                            unsolicited text
                                        text messages
                                             messages caused
                                                      caused Plaintiff
                                                             Plaintiff actual
                                                                       actual harm.
                                                                              harm.

   Specifically, Plaintiff
   Specifically, Plaintiff estimates
                           estimates that he has
                                     that he has wasted approximately two
                                                 wasted approximately two minutes
                                                                          minutes

   reviewing all
   reviewing all of
                 of Defendant’s
                    Defendant’s unwanted
                                unwanted messages
                                         messages and
                                                  and responding
                                                      responding in
                                                                 in an
                                                                    an attempt
                                                                       attempt to
                                                                               to

   stop such
   stop such messages.
             messages.

                               CLASS ALLEGATIONS
                               CLASS ALLEGATIONS

         P ROPOSED C
         PROPOSED  CLASSES
                    LASSES

         35.
         35.    Plaintiff brings this
                Plaintiff brings this case
                                      case as
                                           as a
                                              a class
                                                class action
                                                      action pursuant to Fed.
                                                             pursuant to Fed. R.
                                                                              R. Civ.
                                                                                 Civ. P.
                                                                                      P.

   23, on
   23, on behalf of himself
          behalf of himself and
                            and all
                                all others
                                    others similarly
                                           similarly situated.
                                                     situated.

         36.
         36.    Plaintiff brings
                Plaintiff        this case
                          brings this case on
                                           on behalf of the
                                              behalf of the Classes
                                                            Classes defined
                                                                    defined as
                                                                            as follows:
                                                                               follows:

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         Do Not Call Registry Class: All persons in the United States
         who from four years prior to the filing of this action (1) were
         sent a text message by or on behalf of Defendant; (2) more
         than one time within any 12-month period; (3) where the
         person’s telephone number had been listed on the National
         Do Not Call Registry for at least thirty days; and (4) for
         whom Defendant claims (a) it did not obtain prior express
         written consent, or (b) it obtained prior express written
         consent in the same manner as Defendant claims it
         supposedly obtained prior express written consent to call
         the Plaintiff.

         Internal Do Not Call Class: All persons within the United
         States who, within the four years prior to the filing of this
         Complaint, were sent more a text message from Defendant
         or anyone on Defendant’s behalf, to said person’s cellular
         telephone number more than third days after they made a
         request to Defendant to not receive future text messages.

         37.       Defendant and its employees or agents are excluded from the Classes.

   Plaintiff does not know the number of members in the Classes, but believes the

   Class members number in the several thousands, if not more.

         NUMEROSITY

         38.       Upon information and belief, Defendant has placed violative calls as

   described herein to thousands of consumers throughout the United States. The

   members of the Class, therefore, are believed to be so numerous that joinder of all

   members is impracticable.

         39.       The exact number and identities of the Class members are unknown

   at this time and can only be ascertained through discovery. Identification of the

   Class members is a matter capable of ministerial determination from Defendant’s

   call records.



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          COMMON Q
          COMMON QUESTIONS  OF L
                   UESTIONS OF      AND F
                                 AW AND
                               LAW       ACT P
                                        FACT   REDOMINATE
                                             PREDOMINATE

          40.
          40.      There are
                   There are numerous
                             numerous questions
                                      questions of law and
                                                of law and fact
                                                           fact common
                                                                common to the Classes
                                                                       to the Classes

                which predominate
                which predominate over
                                  over any
                                       any questions
                                           questions affecting
                                                     affecting only
                                                               only individual
                                                                    individual

                members of
                members of the
                           the Classes.
                               Classes. Among the questions
                                        Among the questions of
                                                            of law and fact
                                                               law and fact common
                                                                            common to
                                                                                   to

                the Classes
                the Classes are:
                            are:

                   a. Whether
                   a.         Defendant’s text
                      Whether Defendant’s      messages constitute
                                          text messages constitute telemarketing;
                                                                   telemarketing;

                   b.b. Whether Defendant has
                        Whether Defendant has internal
                                              internal procedures
                                                       procedures compliant
                                                                  compliant with 47
                                                                            with 47

                      C.F.R.
                      C.F.R. 64.1200(d);
                             64.1200(d);

                   c. Whether
                      Whether Defendant violated 47
                              Defendant violated 47 C.F.R.
                                                    C.F.R. §§ 64.1200(c);
                                                              64.1200(c);

                   d. Whether
                      Whether Defendant
                              Defendant adhered to requests
                                        adhered to          by class
                                                   requests by class members
                                                                     members to
                                                                             to stop
                                                                                stop

                      sending
                      sending text
                              text messages
                                   messages to their telephone
                                            to their telephone numbers;
                                                               numbers;

                   e. Whether
                      Whether Defendant
                              Defendant keeps
                                        keeps records
                                              records of
                                                      of text
                                                         text recipients
                                                              recipients who
                                                                         who revoked
                                                                             revoked

                      consent
                      consent to
                              to receive
                                 receive texts;
                                         texts;

                   f. Whether
                      Whether Defendant’s
                              Defendant’s conduct
                                          conduct was knowing and
                                                  was knowing     willful; and
                                                              and willful; and

                      Whether Defendant
                   g. Whether Defendant is
                                        is liable
                                           liable for
                                                  for damages,
                                                      damages, and
                                                               and the
                                                                   the amount
                                                                       amount of
                                                                              of such
                                                                                 such

                      damages.
                      damages.

          41.
          41.      Thecommon  questions in
                   The common questions in this
                                           this case
                                                case are
                                                     are subject
                                                         subject to
                                                                 to common
                                                                    common answers.
                                                                           answers. If
                                                                                    If

    Plaintiffs claim
    Plaintiff’s claim that
                      that Defendant
                           Defendant routinely
                                     routinely transmits
                                               transmits text
                                                         text messages
                                                              messages to
                                                                       to telephone
                                                                          telephone

    numbers registered
    numbers registered on
                       on the
                          the Do-Not-Call
                              Do-Not-Call Registry,
                                          Registry, as
                                                    as well as transmitting
                                                       well as transmitting text
                                                                            text

    messages to
    messages to consumers
                consumers who explicitly request
                          who explicitly request to opt out,
                                                 to opt out, Plaintiff
                                                             Plaintiff and
                                                                       and the
                                                                           the Class
                                                                               Class

    members
    members will
            will have
                 have identical
                      identical claims
                                claims capable
                                       capable of being efficiently
                                               of being efficiently adjudicated
                                                                    adjudicated and
                                                                                and

    administered
    administered in this case.
                 in this case.

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         42.    These common questions predominate over any individual questions.

   The elements of Plaintiff’s claim subject to common proof outweigh any elements

   subject to individual proof.

         TYPICALITY

         43.    Plaintiff’s claims are typical of the claims of the Class members, as

   they are all based on the same factual and legal theories, and arise from the same

   course of conduct. Plaintiff is not subject to any affirmative defenses particular to

   Plaintiff and that threaten to overwhelm the litigation.

         PROTECTING THE INTERESTS OF THE CLASS MEMBERS

         44.    Plaintiff is a representative who will fully and adequately assert and

   protect the interests of the Class, and has retained competent counsel. Accordingly,

   Plaintiff is an adequate representative and will fairly and adequately protect the

   interests of the Class.

         PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

         45.A class action is superior to all other available methods for the fair and

             efficient adjudication of this lawsuit, because individual litigation of the

             claims of all members of the Class is economically unfeasible and

             procedurally impracticable. While the aggregate damages sustained by

             the Class are in the millions of dollars, the individual damages incurred

             by each member of the Class resulting from Defendant’s wrongful

             conduct are too small to warrant the expense of individual lawsuits. The

             likelihood of individual Class members prosecuting their own separate

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             claims
             claims is
                    is remote,
                       remote, and,
                               and, even
                                    even if
                                         if every
                                            every member
                                                  member of
                                                         of the
                                                            the Class
                                                                Class could
                                                                      could afford
                                                                            afford

             individual litigation, the
             individual litigation, the court
                                        court system would be
                                              system would be unduly burdened by
                                                              unduly burdened by

             individual litigation of
             individual litigation of such
                                      such cases.
                                           cases.

          46.
          46.   The prosecution
                The prosecution of
                                of separate
                                   separate actions
                                            actions by members of
                                                    by members of the
                                                                  the Class
                                                                      Class would
                                                                            would

             create aa risk
             create    risk of
                            of establishing
                               establishing inconsistent
                                            inconsistent rulings
                                                         rulings and/or
                                                                 and/or incompatible
                                                                        incompatible

             standards of
             standards of conduct
                          conduct for
                                  for Defendant.
                                      Defendant. For
                                                 For example,
                                                     example, one
                                                              one court
                                                                  court might
                                                                        might enjoin
                                                                              enjoin

             Defendant from
             Defendant from performing
                            performing the
                                       the challenged
                                           challenged acts,
                                                      acts, whereas another may
                                                            whereas another may

             not. Additionally,
             not.               individual actions
                  Additionally, individual actions may
                                                   may be dispositive of
                                                       be dispositive of the interests of
                                                                         the interests of

             the Class,
             the Class, although
                        although certain
                                 certain class
                                         class members
                                               members are
                                                       are not
                                                           not parties
                                                               parties to such actions.
                                                                       to such actions.

                                     COUNT
                                     COUNT II
                  VIOLATION OF
                  VIOLATION      OF THE
                                    THE TCPA,
                                         TCPA, 47
                                                47 U.S.C.
                                                   U.S.C. §
                                                          § 227
                                                            227
           (On
           (On Behalf of Plaintiff and the Do Not Call Registry Class)
               Behalf of Plaintiff and the Do Not  Call Registry Class)

          47. Plaintiff repeats
          47.Plaintiff  repeats and
                                and realleges
                                    realleges the
                                              the paragraphs
                                                  paragraphs 11 through
                                                                through 46
                                                                        46 of
                                                                           of this
                                                                              this

             Complaint
             Complaint and
                       and incorporates
                           incorporates them by reference
                                        them by           herein.
                                                reference herein.

          48.
          48.   The TCPA’s
                The TCPA’s implementing
                           implementing regulation,
                                        regulation, 47
                                                    47 C.F.R.
                                                       C.F.R. §§ 64.1200(c),
                                                                 64.1200(c),

             provides that
             provides that “[n]o
                           “[n]o person
                                 person or
                                        or entity
                                           entity shall
                                                  shall initiate
                                                        initiate any
                                                                 any telephone
                                                                     telephone

             solicitation” to
             solicitation” to “[a]
                              “[a] residential
                                   residential telephone
                                               telephone subscriber
                                                         subscriber who has registered
                                                                    who has registered

             his or her
             his or her telephone
                        telephone number
                                  number on
                                         on the national do-not-call
                                            the national do-not-call registry
                                                                     registry of
                                                                              of

             persons who
             persons     do not
                     who do not wish
                                wish to
                                     to receive
                                        receive telephone
                                                telephone solicitations
                                                          solicitations that
                                                                        that is
                                                                             is

             maintained by
             maintained    the federal
                        by the federal government.”
                                       government.”




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                                             12
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           49.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are

               applicable to any person or entity making telephone solicitations or

               telemarketing calls to wireless telephone numbers.”1

           50.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity

               shall initiate any call for telemarketing purposes to a residential

               telephone subscriber unless such person or entity has instituted

               procedures for maintaining a list of persons who request not to receive

               telemarketing calls made by or on behalf of that person or entity.”

           51. Any “person who has received more than one telephone call within any

               12-month period by or on behalf of the same entity in violation of the

               regulations prescribed under this subsection may” may bring a private

               action based on a violation of said regulations, which were promulgated

               to protect telephone subscribers’ privacy rights to avoid receiving

               telephone solicitations to which they object. 47 U.S.C. § 227(c).

           52. Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be

               initiated, telephone solicitations to telephone subscribers such as

               Plaintiff and the Do Not Call Registry Class members who registered their

               respective telephone numbers on the National Do Not Call Registry, a

               listing of persons who do not wish to receive telephone solicitations that

               is maintained by the federal government.


   1
    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
   Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
   153A1.pdf
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          53. Defendant violated
          53.Defendant  violated 47
                                 47 U.S.C.
                                    U.S.C. §§ 227(c)(5) because Plaintiff
                                              227(c)(5) because Plaintiff and
                                                                          and the
                                                                              the Do
                                                                                  Do Not
                                                                                     Not

                Call
                Call Registry
                     Registry Class
                              Class received
                                    received more
                                             more than
                                                  than one telephone call
                                                       one telephone call in
                                                                          in aa 12-month
                                                                                12-month

                period
                period made by or
                       made by or on
                                  on behalf
                                     behalf of
                                            of Defendant
                                               Defendant in violation of
                                                         in violation of 47
                                                                         47 C.F.R.
                                                                            C.F.R. §§

                64.1200, as
                64.1200, as described
                            described above.
                                      above. As
                                             As aa result
                                                   result of
                                                          of Defendant’s
                                                             Defendant’s conduct
                                                                         conduct as
                                                                                 as alleged
                                                                                    alleged

                herein,
                herein, Plaintiff
                        Plaintiff and
                                  and the
                                      the Do
                                          Do Not
                                             Not Call
                                                 Call Registry
                                                      Registry Class,
                                                               Class, under
                                                                      under section
                                                                            section 47
                                                                                    47

                U.S.C.
                U.S.C. §§ 227(c),
                          227(c), are
                                  are entitled,
                                      entitled, inter
                                                inter alia,
                                                      alia, to
                                                            to receive
                                                               receive up
                                                                       up to
                                                                          to $500
                                                                             $500 in
                                                                                  in damages
                                                                                     damages

                for
                for such violations of
                    such violations of 47
                                       47 C.F.R.
                                          C.F.R. §§ 64.1200.
                                                    64.1200.

          54. To the
          54.To  the extent
                     extent Defendant’s
                            Defendant’s misconduct
                                        misconduct is
                                                   is determined
                                                      determined to be willful
                                                                 to be willful and
                                                                               and

                knowing,
                knowing, the
                         the Court
                             Court should,
                                   should, pursuant
                                           pursuant to
                                                    to 47
                                                       47 U.S.C.
                                                          U.S.C. §§ 227(c)(5), treble the
                                                                    227(c)(5), treble the

                amount
                amount of
                       of statutory
                          statutory damages
                                    damages recoverable by the
                                            recoverable by the members
                                                               members of
                                                                       of the
                                                                          the Do
                                                                              Do Not
                                                                                 Not

                Call
                Call Registry
                     Registry Class.
                              Class.

                                       COUNT
                                       COUNT II
                                              II
                  Violation of the TCPA, 47 U.S.C.
                  Violation   of the  TCPA, 47 U.S.C. §
                                                      § 227(c)(2)
                                                        227(c)(2)
           (On
           (On Behalf
               Behalf of
                       of Plaintiff
                          Plaintiff and
                                     and the
                                         the Internal
                                             Internal Do
                                                      Do Not
                                                          Not Call
                                                              Call Class)
                                                                   Class)

          55. Plaintiff repeats
          55.Plaintiff  repeats and
                                and realleges
                                    realleges the
                                              the paragraphs
                                                  paragraphs 11 through
                                                                through 46
                                                                        46 of
                                                                           of this
                                                                              this

                Complaint and
                Complaint and incorporates
                              incorporates them
                                           them by reference herein.
                                                by reference herein.

          56.
          56.      The TCPA provides
                   The TCPA provides that
                                     that any
                                          any “person
                                              “person who has received
                                                      who has received more
                                                                       more than one
                                                                            than one

    telephone call
    telephone      within any
              call within any 12-month
                              12-month period by or
                                       period by or on behalf of
                                                    on behalf    the same
                                                              of the same entity
                                                                          entity in
                                                                                 in

   violation of the
   violation of the regulations
                    regulations prescribed
                                prescribed under
                                           under this
                                                 this subsection
                                                      subsection may”
                                                                 may” bring
                                                                      bring aa private
                                                                               private

    action based
    action based on
                 on aa violation of said
                       violation of said regulations,
                                         regulations, which were promulgated
                                                      which were promulgated to
                                                                             to protect
                                                                                protect

    telephone subscribers’ privacy
    telephone subscribers’ privacy rights
                                   rights to
                                          to avoid
                                             avoid receiving
                                                   receiving telephone
                                                             telephone solicitations
                                                                       solicitations to
                                                                                     to

    which they
    which they object.
               object. 47
                       47 U.S.C.
                          U.S.C. §§ 227(c)(5).
                                    227(c)(5).




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         57.    Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any

   call for telemarketing purposes to a residential telephone subscriber unless such

   person or entity has instituted procedures for maintaining a list of persons who

   request not to receive telemarketing calls made by or on behalf of that person or

   entity. The procedures instituted must meet certain minimum standards,

   including:

         “(3) Recording, disclosure of do-not-call requests. If a person or entity
         making a call for telemarketing purposes (or on whose behalf such a
         call is made) receives a request from a residential telephone
         subscriber not to receive calls from that person or entity, the person
         or entity must record the request and place the subscriber’s name, if
         provided, and telephone number on the do-not call list at the time the
         request is made. Persons or entities making calls for telemarketing
         purposes (or on whose behalf such calls are made) must honor a
         residential subscriber’s do-not-call request within a reasonable time
         from the date such request is made. This period may not exceed thirty
         days from the date of such request . . . .

         (6) Maintenance of do-not-call lists. A person or entity making calls
         for telemarketing purposes must maintain a record of a consumer’s
         request not to receive further telemarketing calls. A do-not-call
         request must be honored for 5 years from the time the request is
         made.”

         47 C.F.R. § 64.1200(d)(3), (6).

         58.    Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. §

   64.1200(d) are applicable to any person or entity making telephone solicitations

   or telemarketing calls to wires telephone numbers.

         “(e) The rules set forth in paragraph (c) and (d) of this section are
         applicable to any person or entity making telephone solicitations or
         telemarketing calls to wireless telephone numbers to the extent
         described in the Commission's Report and Order,



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          CG
          CG Docket
              Docket No.
                      No. 02-278,
                            02-278, FCC
                                     FCC 03-153,
                                          03-153, “Rules
                                                    “Rules and
                                                            and Regulations
                                                                  Regulations
          Implementing the
          Implementing  the Telephone
                            Telephone Consumer
                                      Consumer Protection
                                                 Protection Act of 1991.”
                                                            Act of 1991.”
          47
          47 C.F.R.
             C.F.R. §§ 64.1200(e).
                       64.1200(e).

          59.
          59.    Plaintiff
                 Plaintiff and
                           and Class
                               Class members
                                     members made
                                             made requests to Defendant
                                                  requests to Defendant not
                                                                        not to
                                                                            to

    receive calls
    receive calls from
                  from Defendant.
                       Defendant.

          60.
          60.    Defendant
                 Defendant failed
                           failed to
                                  to honor
                                     honor Plaintiff
                                           Plaintiff and
                                                     and members’
                                                         members’ requests.
                                                                  requests.

          61.
          61.    Upon information and
                 Uponinformation      belief, Defendant
                                  and belief, Defendant has
                                                        has not
                                                            not instituted
                                                                instituted procedures
                                                                           procedures

    for
    for maintaining
        maintaining a
                    a list
                      list of
                           of persons who request
                              persons who request not
                                                  not to
                                                      to receive
                                                         receive telemarketing
                                                                 telemarketing calls
                                                                               calls

    made
    made by
         by or
            or on behalf of
               on behalf of their behalf, pursuant
                            their behalf, pursuant to
                                                   to 47
                                                      47 C.F.R.
                                                         C.F.R. §§ 64.1200(d).
                                                                   64.1200(d).

          62.
          62.    Because
                 Because Plaintiff
                         Plaintiff and
                                   and members
                                       members received
                                               received more
                                                        more than
                                                             than one
                                                                  one text
                                                                      text message
                                                                           message

    in aa 12-month
    in    12-month period
                   period made
                          made by or on
                               by or on behalf of Defendant
                                        behalf of Defendant in
                                                            in violation of 47
                                                               violation of 47 C.F.R.
                                                                               C.F.R. §§

    64.1200(d),
    64.1200(d), as
                as described
                   described above,
                             above, Defendant violated 47
                                    Defendant violated 47 U.S.C.
                                                          U.S.C. §§ 227(c)(5).
                                                                    227(c)(5).

          63.
          63.    As a result of
                 Asaresult   of Defendant’s violations of
                                Defendant’s violations of 47
                                                          47 U.S.C.
                                                             U.S.C. §§ 227(c)(5),
                                                                       227(c)(5), Plaintiff
                                                                                  Plaintiff

    and class
    and class members
              members are
                      are entitled
                          entitled to
                                   to an
                                      an award
                                         award of
                                               of $500.00
                                                  $500.00 in
                                                          in statutory
                                                             statutory damages,
                                                                       damages, for
                                                                                for

    each
    each and
         and every violation, pursuant
             every violation, pursuant to
                                       to 47
                                          47 U.S.C.
                                             U.S.C. §§ 227(c)(5).
                                                       227(c)(5).

          64.
          64.    As a result of
                 Asaresult   of Defendant’s violations of
                                Defendant’s violations of 47
                                                          47 U.S.C.
                                                             U.S.C. §§ 227(c)(5),
                                                                       227(c)(5), Plaintiff
                                                                                  Plaintiff

    and
    and class
        class members
              members are
                      are entitled
                          entitled to
                                   to an
                                      an award
                                         award of
                                               of $1,500.00
                                                  $1,500.00 in
                                                            in statutory
                                                               statutory damages,
                                                                         damages, for
                                                                                  for

    each
    each and
         and every
             every knowing
                   knowing and/or willful violation,
                           and/or willful violation, pursuant to 47
                                                     pursuant to 47 U.S.C.
                                                                    U.S.C. §§ 227(c)(5).
                                                                              227(c)(5).

          65.
          65.    Plaintiff
                 Plaintiff and
                           and class
                               class members
                                     members are
                                             are also
                                                 also entitled to and
                                                      entitled to and seek
                                                                      seek injunctive
                                                                           injunctive

    relief
    relief prohibiting
           prohibiting Defendant’s
                       Defendant’s illegal
                                   illegal conduct
                                           conduct in
                                                   in the
                                                      the future,
                                                          future, pursuant
                                                                  pursuant to
                                                                           to 47
                                                                              47 U.S.C.
                                                                                 U.S.C. §§

    227(c)(5).
    227(c)(5).




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                                 PRAYER
                                 PRAYER FOR
                                        FOR RELIEF
                                            RELIEF

          WHEREFORE, Plaintiff,
          WHEREFORE, Plaintiff, individually
                                individually and
                                             and on behalf of
                                                 on behalf of the
                                                              the Classes,
                                                                  Classes, prays
                                                                           prays

    for
    for the
        the following
            following relief:
                      relief:

          (a)
          (a)    An order
                 An order certifying
                          certifying this
                                     this case
                                          case as
                                               as a
                                                  a class
                                                    class action
                                                          action on behalf of
                                                                 on behalf of the
                                                                              the Classes
                                                                                  Classes

    as defined
    as defined above,
               above, and
                      and appointing
                          appointing Plaintiff
                                     Plaintiff as
                                               as the
                                                  the representative
                                                      representative of
                                                                     of the
                                                                        the Classes
                                                                            Classes and
                                                                                    and

    the undersigned
    the undersigned as
                    as Class
                       Class Counsel;
                             Counsel;

          (b)
          (b)    Anaward  of statutory
                 An award of statutory damages;
                                       damages;

          (c)
          (c)    An order
                 An order declaring that Defendant’s
                          declaring that Defendant’s actions,
                                                     actions, as
                                                              as set
                                                                 set out
                                                                     out above, violate
                                                                         above, violate

    the
    the TCPA;
        TCPA;

          (d)
          (d)    An injunction
                 An injunction requiring
                               requiring Defendant
                                         Defendant to
                                                   to cease
                                                      cease all
                                                            all illegal
                                                                illegal text
                                                                        text messaging
                                                                             messaging

    activity
    activity as
             as described
                described herein,
                          herein, and
                                  and to
                                      to otherwise
                                         otherwise protect
                                                   protect the
                                                           the interests
                                                               interests of
                                                                         of the
                                                                            the Classes;
                                                                                Classes;

          (e)
          (e)    Such
                 Such further
                      further and
                              and other
                                  other relief
                                        relief as
                                               as the
                                                  the Court
                                                      Court deems
                                                            deems necessary.
                                                                  necessary.

                                    JURY DEMAND
                                    JURY DEMAND

          Plaintiff
          Plaintiff and
                    and Class
                        Class Members
                              Members demand
                                      demand a a trial
                                                 trial by
                                                       by jury
                                                          jury on
                                                               on all triable issues.
                                                                  all triable issues.

                      DOCUMENT
                      DOCUMENT PRESERVATION
                               PRESERVATION DEMAND
                                            DEMAND

          Plaintiff demands
          Plaintiff demands that
                            that Defendant
                                 Defendant take
                                           take affirmative
                                                affirmative steps
                                                            steps to
                                                                  to preserve
                                                                     preserve all
                                                                              all

    records, lists, electronic
    records, lists, electronic databases
                               databases or
                                         or other
                                            other itemization
                                                  itemization of
                                                              of telephone
                                                                 telephone numbers
                                                                           numbers

    associated with
    associated      the communications
               with the communications or
                                       or transmittal of the
                                          transmittal of the calls
                                                             calls as
                                                                   as alleged
                                                                      alleged herein.
                                                                              herein.


          Respectfully submitted
          Respectfully submitted this
                                 this 16th
                                      16th day
                                           day of
                                               of August, 2023.
                                                  August, 2023.

                                           NORMAND
                                           NORMAND PLLC
                                                   PLLC

                                           _______________________
                                           Joshua
                                           Joshua R.
                                                  R. Jacobson
                                                      Jacobson


                                             17
                                             17
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             6:23-cv-01566 Document
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                               DocumentFiled
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                                          Florida
                                          Florida Bar    No. 1002264
                                                    Bar No.    1002264
                                          jjacobson@normandpllc.com
                                          jjacobson@normandpllc.com
                                          Jacob
                                          Jacob Phillips
                                                  Phillips
                                          Florida
                                          Florida Bar    No. 0120130
                                                    Bar No.   0120130
                                          jacob.phillips@normandpllc.com
                                          jacob.phillips@normandpllc.com
                                          Edmund
                                          Edmund A.      Normand
                                                     A. Normand
                                          Florida
                                          Florida Bar    No. 865590
                                                    Bar No.   865590
                                          ed@normandpllc.com
                                          ed@normandpllc.com
                                          ean@normandpllc.com
                                          ean@normandpllc.com
                                          3165
                                          3165 McCrory
                                                 McCrory Place,
                                                             Place, Ste.
                                                                    Ste. 175
                                                                         175
                                          Orlando,
                                          Orlando, FL FL 32803
                                                           32803
                                          Tel:
                                          Tel: (407)
                                                (407) 603-6031
                                                        603-6031
                                          Fax:
                                          Fax: (888)
                                                (888) 974-2175
                                                        974-2175

                                          Counsel for Plaintiff
                                          Counsel for Plaintiff and
                                                                and the
                                                                    the Class
                                                                        Class




                                            18
                                            18
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    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                                                  DEFENDANTS
                       ANTHONY              LAWSON,            individually and on behalf of all                                       VISIONWORKS OF AMERICA, INC.,
                      others similarly siti lated.
              (b)     County of Residence of First Listed Plaintiff                    Seminole Cty, FL                                County of Residence of First Listed Defendant                        Bexar Ctv.             TX
                                                (EXCEPT
                                                      IN       U.S. PLAINTIFF CASES)                                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                       NOTE:          IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                      THE TRACT OF LAND INVOLVED.

              (c)     Attorneys (Firm Name, Address, and Telephone Number)                                                              Attorneys (If Known)

                       Joshua R. Jacobson, Normand PLLC, 3165 McCrory PI.,
                       Ste. 175, Orlando, FL 32803; Tel: 407-603-6031
    II.         BASIS        OF     JURISDICTION                  (Place an “X” in One Box Only)                      Ill.    CITIZENSHIP                OF    PRINCIPAL                     PARTIES         (Place an “X” in One Box for Plaintiff
                                                                                                                                   (For Diversity Cases Only)                                                and One Box for Defendant)
[_]1                U.S. Government                 [x]3      Federal Question                                                                                 PTF             DEF                                                     PTF        DEF
                      Plaintiff                                 (U.S. Government Not a Party)                                Citizen of This State             im    1       im      1     Incorporated or Principal Place             im     4   im 4
                                                                                                                                                                                             of Business In This State

im 2                US. Government                  im 4      Diversity                                                      Citizen of Another State          im    2       im      2     Incorporated and Principal Place            im     5   im 5
                       Defendant                                 (Indicate Citizenship of Parties in Item III)                                                                                of Business In Another State

                                                                                                                             Citizen or Subject of a           [13           []      3     Foreign Nation                               Lle       [Jo
                                                                                                                                Foreign Country

    IV. NATURE                      OF SUIT (piace an “x” in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
|                      CONTRACT                                                       TORTS                                     FORFEITURE/PENALTY                                 BANKRUPTCY                            OTHER STATUTES                  |
          110       Insurance                         PERSONAL INJURY                      PERSONAL INJURY                   | 625 Drug Related Seizure                      422 Appeal 28 USC 158                     375 False Claims Act
          120       Marine                            310 Airplane                      im 365 Personal Injury -                   of Property 21 USC 881                    423 Withdrawal                            376 Qui Tam (31 USC
          130       Miller Act                        315 Airplane Product                     Product Liability             | 690 Other                                         28 USC 157                                 3729(a))
          140       Negotiable Instrument                  Liability                    im 367 Health Care/                                                                     INTELLECTUAL                           400 State Reapportionment
[_] 150 Recovery of Overpayment                       320 Assault, Libel &                        Pharmaceutical                                                             PROPERTY RIGHTS                   |] 410 Antitrust
              & Enforcement of Judgment                    Slander                             Personal Injury                                                       [|      820 Copyrights                            430   Banks and Banking
          151 Medicare Act                            330 Federal Employers’                   Product Liability                                                             830 Patent                                450   Commerce
—         152 Recovery of Defaulted                       Liability                     im 368 Asbestos Personal                                                     -       835 Patent - Abbreviated                  460   Deportation
               Student Loans                          340 Marine                                Injury Product                                                                   New Drug Application                  470   Racketeer Influenced and
        (Excludes Veterans)                           345 Marine Product                      Liability                                                              c]      840 Trademark                            Corrupt Organizations
[_] 153 Recovery of Overpayment                           Liability                       PERSONAL PROPERTY                                LABOR                     [_]     880 Defend Trade Secrets          |] 480 Consumer Credit
    _               of Veteran’s Benefits             350 Motor Vehicle                 LH 370 Other Fraud                      710 Fair Labor Standards                           Act of 2016                               (15 USC    1681 or 1692)
    |_| 160 Stockholders’ Suits                       355 Motor Vehicle                       371 Truth in Lending                   Act                                                                          x|   485 Telephone Consumer
[         190 Other Contract                                 Product Liability          CL] 380 Other Personal               | 720 Labor/Management                  ___ SOCIAL SECURITY __|                                 Protection Act
    |]    195 Contract Product Liability              360 Other Personal                       Property Damage                     Relations                                 861   HIA (1395ff)                        490 Cable/Sat TV
    |     196 Franchise                                   Injury                        im 385 Property Damage               mi Railway Labor Act                            862   Black Lung (923)                    850 Securities/Commodities/
                                                      362 Personal Injury -                    Product Liability              751 Family and Medical                         863   DIWC/DIWW (405(g))                      Exchange
                                                          Medical Malpractice                                                      Leave Act                                 864   SSID Title XVI              |       890 Other Statutory Actions
                    REAL PROPERTY                          CIVIL RIGHTS                   PRISONER PETITIONS                    790 Other Labor Litigation           [|      865 RSI (405(g))                 ||       891 Agricultural Acts
    |_| 210 Land Condemnation                         440 Other Civil Rights                  Habeas Corpus:                 | _}791 Employee Retirement                                                       | | 893 Environmental Matters
    [_]220 Foreclosure                                441 Voting                        [_] 463 Alien Detainee                      Income Security Act                     FEDERAL TAX SUITS                          895 Freedom of Information
    |     ]230 Rent Lease & Ejectment                 442 Employment                    | | 510 Motions to Vacate                                                    L       870 Taxes (U.S. Plaintiff                     Act
          240 Torts to Land                           443 Housing/                              Sentence                                                                         or Defendant)                         896 Arbitration
          245 Tort Product Liability                      Accommodations                [| 530 General                                                               O       871 IRS—Third Party                       899 Administrative Procedure
    a     290 All Other Real Property                 445 Amer. w/Disabilitics - |]           535 Death Penalty                      IMMIGRATION                                  26 USC 7609                              Act/Review or Appeal of
                                                          Employment                          Other:                            462 Naturalization Application                                                             Agency Decision
                                                      446 Amer. w/Disabilities -              540 Mandamus & Other              465 Other Immigration                                                          |       950 Constitutionality of
                                                          Other                               550 Civil Rights                      Actions                                                                                State Statutes
                                                      448 Education                           555 Prison Condition
                                                                                              560 Civil Detainee -
                                                                                                  Conditions of
                                                                                                  Confinement
    V.         ORIGIN             (Place an “X” in One Box Only)
          1         Original                2   Removed from                     3.     Remanded from                Li4     Reinstated or        |    5 Transferred from                     6   Multidistrict              CO 8 Multidistrict
                    Proceeding                  State Court                             Appellate Court                      Reopened                    Another District                         Litigation -                    Litigation -
                                                                                                                                                         (specify)                                Transfer                        Direct File
                                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                           47 U.S.C. s 227 et seq.
    VI.             CAUSE OF ACTION                    Brief description of cause:
                                                           This is a putative class action pursuant to the Telephone Consumer Protection Act, 47 U.S.C. s 227 et seq.

    VII.             REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                                  DEMAND $                                                 CHECK YES only if demanded in complaint:
                     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                         $5,000,000.00                                        JURY DEMAND:                       []Yes           [No
    VII.              RELATED            CASE(S)
                     IF ANY                                  (See instructions):         ap                                                                                  DOCKET NUMBER
    DATE                                                                                      SIGNATURE     OF ATTORNEY          OF RECORD

    8/16/23                                                                                   /s/ Joshua R. Jacobson
    FOR OFFICE               USE ONLY

          RECEIPT #                             AMOUNT                                            APPLYING     IFP                                     JUDGE                                       MAG. JUDGE
JS 44 Reverse
          Case(Rev. 04/21) Case 6:23-cv-01566
                                6:23-cv-01566 Document
                    6:24-mc-00032-WWB-UAM
                           Case               Document 1-1 1-1
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                     INSTRUCTIONS             FOR ATTORNEYS                COMPLETING           CIVIL COVER            SHEET      FORM       JS 44
                                                                 Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)       Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
           the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
     (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
           in this section "(see attachment)".

I.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U:S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

Til.       Residence (citizenship) of Principal Parties.    This section of the JS 44 is to be completed if diversity of citizenship was indicated above.   Mark this
           section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Nature of Suit Code Descriptions.

           Origin. Place an "X" in one of the seven boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statute.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Vil.       Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Vill.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any.   If there are related pending cases, insert the docket
            numbers and the corresponding judge names for such cases.

Date and Attorney Signature.        Date and sign the civil cover sheet.
            Case 6:23-cv-01566
                 6:23-cv-01566 Document
   Case 6:24-mc-00032-WWB-UAM
           Case                Document 1-2 1-1
                                   Document
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AO 440 (Rev. 06/12)   Summons in a Civil Action


                                             UNITED STATES DISTRICT COURT
                                                                         for the

                                                               Middle District of Florida


ANTHONY        LAWSON, individually and on behalf of all                    )
                 others similarly situated,                                 )
                                                                            )
                                                                            )
                                 Plaintiff(s)                               )
                                     V.                                            Civil Action No.
           VISIONWORKS OF AMERICA, INC.,                                    )
                                                                            )
                                                                            )
                                                                            )
                                Defendant(s)                                )

                                                         SUMMONS      IN A CIVIL ACTION

To: (Defendant’                 dadd.           VISIONWORKS OF AMERICA, INC.,
  0:    (Defendant's name and     address)      Registered Agent: C T Corporation System
                                                1200 South Pine Island Road
                                                Plantation, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
  h           d add        :
Whose Tame and adaness are                      Joshua R. Jacobson, Esq.
                                                Normand PLLC
                                                3165 McCrory Place, Ste. 175
                                                Orlando, FL 32803
                                                Tel: (407) 603-6031



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT


Date:
                                                                                                 Signature of Clerk or Deputy Clerk
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                 6:23-cv-01566 Document
   Case 6:24-mc-00032-WWB-UAM
           Case                Document 1-2 1-1
                                   Document
                                        1-2  Filed 08/16/23
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AO 440 (Rev. 06/12)    Summons in a Civil Action (Page 2)

 Civil Action No.


                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

           This summons for (name of individual and title, if any)

 was received by me on (date)


           C1 I personally served the summons on the individual at (place)
                                                                                      on (date)                             ; or

           1 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
           on (date)                                   , and mailed a copy to the individual’s last known address; or

           1 I served the summons on (name of individual)                                                                             , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                             ; or


           C1 I returned the summons unexecuted because                                                                                   ; or

           O   Other (specify):




           My fees are $                               for travel and $                    for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address


 Additional information regarding attempted service, etc:
